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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

 PEOPLE FOR PEARCE and STEVE E. PEARCE,
 U.S. Representative for New Mexico’s Second
 Congressional District,

                 Plaintiffs,

 vs.                                                          Case No. 2:17-cv-00752-JCH-SMV

 MAGGIE T. OLIVER, in her official capacity
 as Secretary of State of the State of New Mexico;
 HECTOR H. BALDERAS, JR., in his official
 capacity as Attorney General of the State of New
 Mexico; and DIANNA LUCE, in her official
 capacity as Fifth Judicial District Attorney of
 New Mexico,

                 Defendants.


                 JOINT REPORT PURSUANT TO THE COURT’S ORDER

       Pursuant to the Court’s Memorandum Opinion and Order (Doc. No. 51) (Nov. 28, 2017)

(“Order”), a meeting of counsel of the Plaintiffs and counsel for Defendant Maggie T. Oliver

was held on December 11, 2017, via telephone. Pursuant to that meeting, and further

communications between the parties, the parties hereby jointly report to the Court that they have

begun settlement discussions to include a joint stipulated final judgment in this case that reflects

the decision of the Court set forth in the Order. Accordingly, the parties do not at this time

propose an expedited briefing schedule or discovery plan, and respectfully request that the Court

refrain from entering any scheduling order(s) at the present time so that the parties may fully

explore the possibility of a resolution of this case.
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Respectfully submitted,

PEIFER, HANSON & MULLINS, P.A.


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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of December, 2017, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic File:

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